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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


BRIAN HUDDLESTON,

          Plaintiff,

vs.
                                                      Case No. 4:20-cv-447-ALM
FEDERAL BUREAU OF
INVESTIGATION and UNITED STATES
DEPARTMENT OF JUSTICE

         Defendant


        PLAINTIFF’S SURREPLY IN OPPOSITION TO DEFENDANTS’
 MOTION FOR SUMMARY JUDGMENT and REPLY IN SUPPORT OF PLAINTIFF’S
              CROSS-MOTION FOR SUMMARY JUDGMENT

       NOW COMES Brian Huddleston, the Plaintiff, surreplying in opposition to the

Defendants’ Motion for Summary Judgment (Dkt. #37) and replying in support of his Cross-

Motion for Summary Judgment (hereinafter “Cross-Motion”) (Dkt. #46):

                                          Introduction

       The Defendants’ Combined Reply to Plaintiff’s Response in Opposition to Defendants’

Motion for Summary Judgment and Opposition to Plaintiff’s Cross Motion for Summary

Judgment (hereinafter “Reply”)(Dkt. #54) is remarkable. It begins on a presumptuous note, with

the Defendants declaring – without asking the Court – that they will separately brief 205

additional pages that they expect to produce on May 23, 2022. The Plaintiff objects to yet

another round of briefing, and he urges the Court to bypass further delays by ordering the

Defendants to produce all new records immediately for in camera review. The Plaintiff will

address the remaining issues in the order that they appear in the Reply.



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                                             Argument

1. The Defendants searches were inadequate and unreasonable.

       The Reply is remarkable both for its unresponsiveness and its hubris. With no sense of

irony, the FBI again confirms what we already knew, namely that the process for including

records in its search indices is completely subjective. And never mind the undisputed evidence

that the FBI’s search indices already failed to identify nearly 2,000 responsive pages, the FBI

presumes to tell the Court that it still should trust those search indices. Separately, the FBI

suggests that it can ignore longstanding case law and administratively rewrite the definition

“agency record,” specifically to exclude emails and text messages from that definition. Finally,

the Reply ignore the authorities cited in the Cross-Motion. The Defendants’ arguments fail

completely.

   A. Emails and texts

       In the Cross-Motion, Mr. Huddleston noted that the FBI’s justification for refusing to

search its email systems was that such a search would not be “reasonable.” Cross-Motion 7-9

(citing the record). That was the FBI’s entire explanation, thus the FBI never explained why it

would not be reasonable, e.g., whether it would be technologically unfeasible or an undue burden

to search email accounts. Id. Now, in his fifth declaration, Mr. Seidel again fails to answer that

question. Instead, he offers the same worn-out narrative that he has offered before: (1) federal

law requires us to preserve and archive records; (2) we are presumed to have followed the law;

therefore (3) we must have preserved and archived all responsive records and (4) any such

records already would have been discovered in our index searches. Separately, and

preposterously, he argues that emails and text messages aren’t really “agency records” for




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purposes of FOIA. See Reply 4 (citing declaration). That claim cannot be reconciled with the

law.

         “Materials are agency records under FOIA if: (1) the agency created or obtained the

relevant records, and (2) the agency is in control of the documents at the time of the FOIA

request.” Fox News Network, LLC v. Bd. of Governors of the Fed. Reserve Sys., 601 F.3d 158,

160 (2d Cir. 2010), citing U.S. Dep't of Justice v. Tax Analysts, 492 U.S. 136, 144–45, 109 S.Ct.

2841, 106 L.Ed.2d 112 (1989). Congress explicitly defined agency records to include

information “in any format, including an electronic format.” 5 U.S.C. §552(f)(A)(2). Even if the

definition was unclear (and it’s not), Mr. Huddleston explicitly requested “electronic”

communications about Seth Rich. See First Amended Complaint (hereinafter “FAC”) (Dkt. #3)

2, ¶6.

         In the Cross-Motion, Mr. Huddleston cited two cases for the premise that “the

government cannot prevail [on a FOIA motion for summary judgment] when it arbitrarily refuses

to search its email systems.” Cross-Motion 8, citing Council on Am.-Islamic Relations-

Washington v. United States Customs & Border Prot., 492 F. Supp. 3d 1158, 1165 (W.D. Wash.

2020) and Neighborhood Assistance Corp. of Am., v. United States Dep't of Hous. & Urban

Dev., 19 F. Supp. 3d 1, 9 (D.D.C. 2013). The Defendants completely ignored those cases, and for

good reason: they knew they didn’t have a leg to stand on.

         In both of the foregoing cases, the Government refused to search for emails even after the

requestors identified individuals who were likely to have responsive emails. The same is true

here. The FBI refuses, for example, to search the email accounts of the personnel involved in the

Seth Rich investigation, e.g., the agents who interviewed witnesses and then submitted reports




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based on those interviews.1 See Fifth Declaration of Michael G. Seidel (hereinafter “Fifth

Declaration”) (Dkt. #54-1) ¶¶5-11. It should be obvious that agents who interviewed witnesses

about Seth Rich would very likely email other agents about those interviews, and that alone is

sufficient to compel a search. See, e.g., Akel v. United States Dep't of Justice, No. CV 20-3240

(RDM), 2021 WL 6196984, at *4 (D.D.C. Dec. 30, 2021)(ordering the Department of Justice to

search emails of an employee likely to contain relevant information) and citing Valencia-Lucena

v. U.S. Coast Guard, 180 F.3d 321, 327 (D.C. Cir. 1999)(“[I]f an agency has reason to know that

certain places might well contain responsive documents, it is obligated under FOIA to search

[those places] barring an undue burden.”). And the FBI has already acknowledged that it is

capable of searching email accounts; it just doesn’t want to search email accounts for

information about Seth Rich. Paragraph 17 of the Fifth Declaration is particularly telling in this

regard. The FBI searched the emails of former FBI Deputy Director Andrew McCabe for the

terms "Meeting," "Hersh," "Bowser," "Brazile," "Communication," and "Appointment," but it

never searched for the term “Seth Rich.” Why not? Would it really have been so difficult to

search for one more name? Of course not. The FBI just wants to hide the ball whenever Seth

Rich’s name is mentioned.


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    Notably, Mr. Huddleston’s FOIA request was not limited to searches of the email and text messaging
    accounts of only designated personnel, thus Mr. Huddleston implicitly requested a search of the FBI’s
    entire email and text messaging systems. That is particularly important in light of one of the requests in
    the April 9, 2020 letter, namely a request for the following:

          All documents, communications, records or other evidence reflecting orders or directions
          (whether formal or informal) for the handling of any evidence pertaining to Seth Rich's or Aaron
          Rich's involvement in transferring data from the Democratic National Committee to Wikileaks.

    FAC 3, ¶6. Given the fact that nearly 2,000 pages of evidence were excluded from the FBI’s indexing
    systems, one must ask whether FBI personnel were directed to exclude Seth Rich from the indexing
    systems. Any such “orders or directions” obviously would not be found in the indexing systems
    themselves, so the most likely way to find those orders would be to search all emails within the relevant
    time frame.


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          It is worth noting again that the FBI released emails about Seth Rich purely by

coincidence in an unrelated case. See Plaintiff’s Response in Opposition to Motion to Stay (Dkt.

#11) 4-5. Those emails were not discovered during the FBI’s initial search for records about Seth

Rich in 2018. Id. Having been presented with those emails in this case, the FBI still refuses to

search for any additional communications from among the same agents. In fact, Mr. Seidel’s

declaration seems to suggest that the FBI refused to search for anything in the same email chain

beyond what has already been produced. Seidel Declaration ¶6. 2 Once again, Mr. Seidel’s

declaration does nothing to overcome the plain evidence of a cover-up. Consider the following

excerpt: “As discussed in the Fourth Seidel Declaration 1 50, indexing information in the CRS is

done at the discretion of FBI investigators when information is deemed of sufficient significance

to warrant indexing for future retrieval.” Fifth Declaration of Michael G. Seidel (hereinafter

“Seidel Declaration”) ¶7 (emphasis in original). What exactly does that mean? “Significance” to

whom or what? And what exactly are the criteria for determining whether something is “of

sufficient significance”? The FBI demonstrates yet again that its vaunted indexing system is

subjective, unreliable, and easily manipulated. Ironically, the preceding paragraph in Mr.

Seidel’s declaration proves that point. Mr. Seidel offers a bogus excuse for the FBI’s failure to in

2018 to identify and produce emails about Seth Rich:

          The FBI conducted an additional review of the content of the August 10, 2016 email
          chain it produced to Plaintiff herein Bates-numbered FBI(20-cv-447)-l and -2. [Actually,
          it’s a text chain, not an email chain. Id.]. The email chain begins with an FBI employee in
          the FBI's Washington Field Office's Office of Public Affairs ("WFO OPA") contacting
          other FBI personnel to advise that various news outlets were "[r]eporting today that
          Julian Assange suggested during a recent overseas interview that DNC Staffer, Seth Rich
          was a Wikileaks source and may have been killed because he leaked the DNC e-mails to
          his organization, and that WikiLeaks was offering $20,000 for information regarding
          Rich's death last month." The WFO OPA employee further advised that additional press

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    These relentless ambiguities are the reason that Mr. Huddleston asked the Court to order Mr. Seidel to
    testify at an evidentiary hearing.


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          coverage was anticipated and wanted to discuss what involvement the Bureau had in the
          investigation. After a series of adding personnel to the email chain and forwarding of the
          email, an FBI employee advised "Just FYSA. I squashed this with [redacted]."

Seidel Declaration ¶6. The FBI may not consider that information “of sufficient significance,”

but Mr. Huddleston does, and he is not alone. Multiple bloggers thought the information was “of

sufficient significance” to warrant a story. See, e.g., John B. Nevin, “Documents Released

Pertaining to FBI Investigation into Seth Rich Murder,” April 29, 2021 UncoverDC,

https://uncoverdc.com/2021/04/29/documents-released-pertaining-to-fbi-investigation-into-seth-

rich-murder/; Larry Johnson, “Turns Out the FBI Has Been Hiding More Seth Rich Documents,”

November 2, 2020 Gateway Pundit, https://www.thegatewaypundit.com/2020/11/turns-fbi-

hiding-seth-rich-documents/; and “Seth Rich And The FBI Investigation – A Ball Of

Confusion,” April 26, 2021 Liberty Nation News, https://www.libertynation.com/seth-rich-and-

the-fbi-investigation-a-ball-of-confusion/.

          Mr. Seidel argues that an email or text is not “of sufficient significance,” and therefore

not an agency record, unless FBI personnel arbitrarily decide that is. 3 In fact, Mr. Seidel argues

that no document is an “agency record” unless FBI personnel enter it into the indexing system.

He cites Consumer Federation of America v. U.S. Department of Agriculture, 455 F.3d 283, 287


3
    Mr. Seidel’s disclosure of the “sufficient significance” standard prompted Plaintiff’s Counsel to retrieve
    and review a December 9, 2020 email from Defendants’ Counsel to Plaintiff’s Counsel. Of particular
    interest was the following paragraph:

        FBI has completed the initial search identifying approximately 50 cross-reference serials, with
        attachments totaling over 20,000 pages, in which Seth Rich is mentioned. FBI has also located
        leads that indicate additional potential records that require further searching. At this time, FBI
        anticipates processing only the pages where Seth Rich is mentioned, along with perhaps another
        page or two in each situation to provide context.

December 9, 2020 Email from Andrea Parker to Ty Clevenger (attached as Exhibit 1). Mr. Huddleston
must now ask whether the FBI improperly pared down the number of responsive documents from 20,000
to roughly 2,000 by utilizing something akin to the “sufficient significance” standard. Such questions can
only be answered if discovery is permitted.


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(D.C. Cir. 2006) for guidance on what is an “agency record,” but that case does not help his

argument:

       We must… be careful to ensure that “[t]he term ‘agency records' ... not be manipulated to
       avoid the basic structure of the FOIA: records are presumptively disclosable unless the
       government can show that one of the enumerated exemptions applies.” Bureau of Nat'l
       Affairs, Inc. v. United States Dep't of Justice, 742 F.2d 1484, 1494 (D.C.Cir.1984). As the
       Supreme Court has repeatedly reminded us, in enacting FOIA, “Congress sought to open
       agency action to the light of public scrutiny.” Tax Analysts, 492 U.S. at 142, 109 S.Ct.
       2841 (internal quotation marks omitted); see Department of Justice v. Reporters Comm.
       for Freedom of Press, 489 U.S. 749, 772, 109 S.Ct. 1468, 103 L.Ed.2d 774
       (1989); Department of Air Force v. Rose, 425 U.S. 352, 372, 96 S.Ct. 1592, 48 L.Ed.2d
       11 (1976).

Consumer Federation, 455 F.3d at 287 (emphasis added). 4 And Mr. Seidel misrepresents

Consumer Federation’s holding about whether a document must enter into “agency files” in

order to be considered an “agency record.” That court held that “agency records” were not

defined by whether a document was placed in “agency files.” Id. at 290. In any event, that point

is irrelevant because emails and/or text messages are retrievable records, ergo inherently part of

“agency files.” See, e.g., Akel v. United States Dep't of Justice, No. CV 20-3240 (RDM), 2021

WL 6196984, at *4 (D.D.C. Dec. 30, 2021)(ordering the Department of Justice to search for

emails in archives). For all of the foregoing reasons, the FBI should be ordered to search all

email, text messaging, and other communication systems.

    B. Private communications

       With respect to searches of private communications, the Defendants’ argument is the

same old same old: (1) federal law requires us to preserve and archive records; (2) we are


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  Consumer Federation raises another unanticipated problem for Mr. Seidel and the FBI. As noted above,
the FBI searched the emails of former FBI Deputy Director Andrew McCabe to determine whether he met
with individuals specified by Mr. Huddleston. In Consumer Federation, the D.C. Circuit ordered the
Department of Agriculture to produce electronic calendars to a requestor who was trying to determine
with whom agency officials were meeting. The FBI apparently did not search the calendars, official
notebooks, etc. of Mr. McCabe, and it should be ordered to do that.


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presumed to have followed the law; therefore (3) we must have preserved and archived all

responsive records and (4) any such records already would have been discovered in our searches.

Given all of the chicanery in this case thus far, those are no longer reasonable presumptions.

Nonetheless, Mr. Huddleston would not object if the Court chose to order in camera review of

existing records before deciding whether to order searches of private communications.

   C. FBI’s Handling of Plaintiff’s FOIA Requests and Related Searches Conducted

       In the Cross-Motion, Mr. Huddleston objected to the FBI’s tricky attempt to hide the fact

that it had never searched for records in locations that were specifically named by Mr.

Huddleston. In particular, Mr. Huddleston objected because the FBI had never searched for

records in its information technology division, despite the fact that Mr. Huddleston specifically

sought records from that location. See Cross-Motion 10-13, citing the record. Likewise, the

Cross-Motion chided the FBI for trying to hide the fact that it never conducted a broader search

for individuals involved in the transfer of DNC to Wikileaks. Id. at 10. Finally, the Cross-Motion

noted that the FBI quietly ignored Mr. Huddleston’s request for reports produced by

CrowdStrike, Inc. regarding the DNC emails. Id. Only after being confronted in the Cross-

Motion about these hide-the-ball did the FBI attempt to address them: (1) the FBI belatedly

agreed to search for records in its Operational Technology Division, see Defendants’ Unopposed

to Stay Briefing Schedule (Dkt. #48); (2) the FBI belatedly came clean and declared that it is not

going to search for records about other individuals who might have been involved in the DNC

email leaks, see Fifth Declaration ¶¶5-11; and (3) the FBI belatedly agreed to produce reports

from CrowdStrike. Id. at ¶19. Mr. Huddleston and the Court obviously should have been

informed plainly and from the outset that the FBI intended to disregard the three foregoing

requests. Instead, the FBI waited until it got caught. Notably, Mr. Seidel makes no attempt in his



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Fifth Declaration to explain how the FBI might have accidentally overlooked the three requests,

thus the Court can only conclude that it was not an accident at all.

       With that in mind, Mr. Huddleston would direct the Court’s attention back to the Fifth

Declaration. Mr. Seidel purports to clean up the shortcomings flagged in the Cross-Motion, but

in reality he does nothing of the sort. Compare Paragraphs 14-16 of the Fifth Declaration with

the April 9, 2020 FOIA requests found in Paragraph 6 of the First Amended Complaint. All we

know from the Fifth Declaration is what we already knew from the Fourth Declaration: the FBI

conducted generic searches for information about “Seth Rich,” “Aaron Rich,” and “Deborah

Sines” in limited locations. And the FBI is still hiding the ball. Consider the request wherein Mr.

Huddleston sought the following:

       All documents, records, or communications exchanged with any other government
       agencies (or representatives of such agencies) since January 1, 2016 regarding (1)
       Seth Rich's murder or (2) Seth Rich's or Aaron Rich's involvement in transferring
       data from the Democratic National Committee to Wikileaks.

First Amended Complaint 3, ¶6. The foregoing request still has not been addressed by the FBI.

To some extent, the request circles back to the necessity of email searches. If FBI personnel

exchanged communications with the Metropolitan Police Department or the Central Intelligence

Agency regarding Seth Rich, then those communications should have been identified and

produced. Likewise, if the FBI exchanged reports or analyses with either of those agencies (or

any other agencies), then those reports or analyses should have been identified and produced.

One cannot determine from Mr. Seidel’s latest declaration how the foregoing request was

processed or even whether it was processed at all. For this reason alone, the Cross-Motion should

be granted and Mr. Seidel should be cross-examined or deposed.




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      D. FBI “Other Databases”

          According to the Defendants, “Plaintiff suggests that there may be other databases that

the FBI excludes from search indices, so to the extent that they exist, the FBI’s failure to search

them is inadequate.” That statement is disingenuous at best. The Plaintiff has not merely

“suggested” that other databases are excluded from its search indices, he has provided strong

evidence that other databases are excluded. The FBI belatedly conceded that it needed to search

databases in its Operational Technology Division and its Counterintelligence Division, see

February 23, 2022 Email from Andrea Parker to Ty Clevenger (Exhibit 2), 5 and it has now

located another 205 pages of records that did not show up in its index searches. See Joint Status

Report Regarding New Searches and Proposed Production and Briefing Schedule (Dkt. #50). It

is thus reasonable to conclude that the foregoing databases were excluded from the search

indices. Mr. Huddleston did not and has not suggested that the FBI should be ordered to search

other yet-unknown databases. Instead, he asked the Court to order the FBI to disclose what

databases are omitted from its search indices. Once that information is provided, Mr. Huddleston

can then decide whether to ask this Court to order searches of those heretofore-unknown

databases.

      E. Codenames

          The FBI claims that revealing code names assigned to Seth Rich, Aaron Rich, or Deborah

Sines would compromise law enforcement methods, create national security risks, and invade the

privacy of Seth, Aaron, and Ms. Sines. The FBI does not, however, offer any explanation about

how revealing code names would create such dangers. This alone is fatal to the Defendants’

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    As attested by his electronic signature on this document, Ty Clevenger declares under penalty of
    perjury under the laws of the United States that all exhibits to this surreply are true and correct copies of
    the documents that he represents them to be.



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arguments. Mr. Huddleston has explained time and again that the FBI must provide detailed

explanations in order to support its motion for summary judgment. See, generally, Shapiro v.

United States Dep't of Justice, 507 F. Supp. 3d 283, 339 (D.D.C. 2020) (recounting long history

of conclusory declarations from the FBI and denying summary judgment). Mr. Seidel’s latest

declaration falls far short of that standard because it offers only generic statements about law

enforcement methods, national security risks, and invasions of privacy.

       Mr. Huddleston addressed the Defendants’ privacy arguments in detail on pages 29-31 of

the Cross-Motion. Predictably, the Defendants’ ignored those arguments as well as the

authorities cited by Mr. Huddleston. And the Defendants’ arguments with respect to the law

enforcement privilege are baseless. The Crossfire Hurricane / “Russian collusion” investigation

was closed three years ago. See Reply 8. Closed investigations generally are not grounds for

asserting the law enforcement exemption:

       [T]he cases plaintiff cites, N.L.R.B. v. Robbins Tire & Rubber Co., 437 U.S. 214, 98 S.Ct.
       2311, 57 L.Ed.2d 159 (1978); Coastal States Gas Corp. v. Department of Justice, 617
       F.2d 854 (D.C.Cir.1980); and Ehringhaus v. F.T.C., 525 F.Supp. 21, 23 (D.D.C.1980) do
       support the proposition that investigatory files compiled for closed cases may be
       disclosable. The Supreme Court has written that the exemption under § 552(b)(7) “does
       not endlessly protect material simply because it was in an investigatory file,” N.L.R.B. v.
       Robbins Tire & Rubber, 437 U.S. 214, 230, 98 S.Ct. 2311, 2321, 57 L.Ed.2d 159 (1978),
       and the D.C. Circuit has stated, “There is no reason to protect yellowing documents
       contained in long-closed files.” Coastal States Gas Corp., 617 F.2d at 870. In addition,
       the court cannot adequately evaluate claims that documents are exempt as attorney work
       product without knowing whether they have been prepared in anticipation of specific
       litigation or for trial. See Hickman v. Taylor, 329 U.S. 495, 67 S.Ct. 385, 91 L.Ed. 451
       (1947); Coastal States Gas Corp., 617 F.2d at 865 (“[I]t is firmly established that there is
       no privilege at all unless the document was initially prepared in contemplation of
       litigation, or in the course of preparing for trial.”).

       These cases impose an obligation on the defendant to specify whether the investigations
       listed in the index refer to particular cases or to generalized classes of prospective cases;
       to disclose whether particular cases are open or closed; and if closed, to explain why
       documents about them nonetheless remain exempt from disclosure. The defendant is
       directed to provide this information in its revised index.



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Am. Civil Liberties Union Found. v. U.S. Dep't of Justice, 833 F. Supp. 399, 406–07 (S.D.N.Y.

1993). If the Defendants are relying on Crossfire Hurricane or any other closed cases, then they

should be ordered to disclose that information. And that should apply to every instance in which

the FBI asserts the law enforcement exemption, not just with respect to the code names. Finally,

Mr. Seidel’s own declaration acknowledges that the FBI assigns code names during

investigations, see Fifth Declaration ¶21, so revealing the code names – much less the mere fact

that code names were assigned – cannot possibly compromise law enforcement methods.

        Finally, the national security argument is baseless. In the Cross-Motion, Mr. Huddleston

cited a critical executive order that governs national security classifications:

        In no case shall information be classified, continue to be maintained as classified, or fail
        to be declassified in order to: (1) conceal violations of law, inefficiency, or administrative
        error; (2) prevent embarrassment to a person, organization, or agency; (3) restrain
        competition; or (4) prevent or delay the release of information that does not require
        protection in the interest of the national security.

Cross-Motion 22, quoting Exec. Order 13,526 § 1.7(a). On pages 22-26 of the Cross-Motion, Mr.

Huddleston explained in detail how subsections 1, 2, and 4 prevent the Defendants from

asserting national security exemptions. The Defendants’ ignored those arguments and authorities

in their Reply, thus they have conceded that the national security exemptions do not apply. Boggs

v. Krum Indep. Sch. Dist., 376 F. Supp. 3d 714, 722 (E.D. Tex. 2019)(issues are waived if not

adequately briefed).6

        The Defendants also ignored Mr. Huddleston’s argument that the FBI should be required

to search for records under any code names assigned to Seth Rich or Aaron Rich:

        [T]he Court should note that Mr. Seidel’s [Fourth Declaration] does not indicate whether
        the FBI searched for emails (or any other records) using the code names assigned to Seth
        or Aaron Rich. Likewise, the declaration of Vanessa R. Brinkman (Doc. No. 37-2) does

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  Furthermore, the Defendants have waived any and all claims to national security exemptions insofar as they failed
to address Executive Order 13,526 § 1.7(a).



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       not indicate whether records were searched via code names. Given the FBI’s long history
       of hiding documents from FOIA requestors, it is entirely reasonable to believe that the
       FBI may be hiding responsive documents by assigning code names and then omitting
       those code names from its search parameters. Accordingly, the FBI and SCO should be
       ordered to search email accounts, text accounts, databases, any search indices, CART,
       ODT, DITU, etc. using any and all code names assigned to Seth and Aaron Rich.
       Although the FBI contends that the code names themselves should not be revealed, it
       could nonetheless produce the responsive documents with the code names redacted. We
       know this is achievable because that is exactly what the FBI has already done with
       respect to the records discussed in Paragraphs 28-29 of Mr. Seidel’s [Fourth Declaration].
       It should be easy enough for the FBI to redact any code names and then insert the name
       of the person to whom the code name was assigned.

Cross-Motion 17. Insofar as the Defendants failed to address this issue, summary judgment

should be granted to Mr. Huddleston.

   E. Other persons involved in transferring DNC emails to Wikileaks

       In his April 9, 2020 FOIA request, Mr. Huddleston sought records “indicating whether

Seth Rich, Aaron Rich, or any other person or persons were involved in transferring data from

the Democratic National Committee to Wikileaks in 2016, either directly or through

intermediaries.” FAC 3, ¶6 (emphasis added). In the Cross-Motion, Mr. Huddleston noted that

the Defendants had ignored his request for records concerning “any other person or persons.”

Cross-Motion 18. The Reply ignores that issue once more. Buried away in the Fifth Declaration,

however, is this golden nugget:

       Per DOJ regulations implementing the FOIA codified at 28 CFR § 16.3(b), for a FOIA
       request to be valid, it must "describe the records sought in sufficient detail to enable
       Department personnel to locate them with a reasonable amount of effort. As written,
       Plaintiffs does not comport with the requirements of 28 C.F.R. § 16.3(b). Given the
       vague nature of the request for "any other person or persons" without providing any
       specific names, the FBI is unable to conduct a search.

Fifth Declaration ¶18. That is truly ridiculous. The joint FBI / SCO investigation of “Russian

collusion” lasted over two years and cost taxpayers $32 million. See Katelyn Plantz, “Mueller

investigation cost $32 million, Justice Department says,” August 2, 2019 CNN,



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https://www.cnn.com/2019/08/02/politics/mueller-report-cost/index.html. Mr. Seidel, however,

contends that it is unreasonable to ask Robert Mueller’s army of FBI agents and federal

prosecutors what “other person or persons” may have been involved in leaking the emails. No,

Mr. Seidel wants Mr. Huddleston and the undersigned solo practitioner to tell the FBI and the

SCO who really did it. Then and only then will the FBI whose names should be searched in the

FBI’s magical indexing systems. Mr. Seidel’s explanation is utter nonsense, and it is but one

more example of the Defendants’ bad faith.

2. The Defendants misconstrued FOIA exemptions in order to withhold non-exempt
   records.

       As with nearly everything else in the Cross-Motion, the Defendants ignored the

 arguments and authorities presented by Mr. Huddleston regarding FOIA exemptions. He will

 sequentially address each of the FOIA exemptions that are improperly relied upon by the

 Defendants.

       A. Redactions of Deborah Sines, Seth Rich, Aaron Rich from 302s

       The Defendants failed to address any of the arguments found on pages 29-31 of the

Cross-Motion, and the Fifth Declaration merely recycles the same generic statements found in

the Fourth Declaration. The Defendants have waived the issue by failing to respond to the

Cross-Motion, Boggs, 376 F. Supp. 3d at 722, therefore the Cross-Motion should be granted.

       B. Compact Disc & Digital Video Disc

       The Defendants claim that a compact disc and a video disc are subject to law

enforcement exemptions. Reply 14. As indicated above, the Defendants are obligated to disclose

whether the investigations in question are open or closed, and the Court should order them to

make those disclosures. Mr. Seidel has admitted, at least implicitly, that the compact disc in

question contains the purported contents of Seth Rich’s personal laptop, which were copied post


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mortem by his brother, Aaron Rich. Compare Fifth Declaration ¶25 and Fourth Declaration ¶137

with Cross-Motion 30-31 (citing the record) and Motion for In Camera Review (Dkt. #28) 10-12

(citing the record). Mr. Huddleston predicted this was the case on pp. 30-31 of the Cross-Motion.

Mr. Huddleston further observed that footnote 42 of the Fourth Declaration seems to suggest that

the FBI took custody of the laptop itself (the FBI already has acknowledged taking custody of

the work laptop). Cross-Motion 30. In his Fifth Declaration, Mr. Seidel failed to clarify whether

the FBI took custody of the personal laptop, and that is not an insignificant matter. Fortunately,

Plaintiff’s Counsel happened to review a December 9, 2020 email wherein Defendants’ Counsel

wrote the following:

          FBI is also currently working on getting the files from Seth Rich's personal laptop into a
          format to be reviewed. As you can imagine, there are thousands of files of many types.
          The goal right now is to describe, generally, the types of files/personal information
          contained in this computer. Furthermore, the FBI will continue to evaluate the
          responsiveness of these files under the FOIA.

December 9, 2020 Email from Andrea Parker to Ty Clevenger (attached as Exhibit 1)(emphasis

added). Neither Mr. Seidel nor the Vaughn index have ever made any reference to what was

found on the personal laptop.7 The FBI had the ability to search the files and apparently did so,

but the Vaughn index, the Fifth Declaration, and the Reply say absolutely nothing about the file

types or the file contents. Instead, the Reply just offers a shotgun argument about Seth Rich’s

privacy. The Court obviously cannot evaluate the Defendants’ arguments about privacy without

some description of each document, therefore the Court should order the FBI to provide that

information.

7
    Mr. Huddleston also requested records reflecting “[a]ll data downloaded from all electronic devices that
    belonged to Seth Rich as well as all data, documents, records or communications indicating how the
    devices were obtained and who was responsible for downloading the information.” FAC 3, ¶6. Where
    are the records indicating who downloaded the data? And what about data downloaded from other
    devices such as cell phones? The FBI left these questions unanswered, therefore it should be subject to
    discovery.


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       In the Cross-Motion, Mr. Huddleston explained that metadata from Seth’s laptop (or the

disc) would be subject to FOIA, see Cross-Motion 30, citing Long v. Immigration & Customs

Enf't, 279 F. Supp. 3d 226, 234 (D.D.C. 2017), but the Reply ignored that issue as well. Mr.

Huddleston wants to compare the metadata on the disc to the metadata on the laptop so he can

determine whether Aaron Rich tampered with evidence before providing it to the FBI. Insofar as

the Defendants failed to address the issue, summary judgment should be granted in favor of Mr.

Huddleston.

       C. Exemption 1: National Security

       Mr. Huddleston already has set forth extensive evidence that the FBI has acted in bad

faith, and that is directly relevant to the Defendants’ attempt to invoke national security

exemptions. With respect to the issues flagged by Mr. Huddleston, Mr. Seidel response is

essentially “Trust us.” Thanks, but no thanks. Consider the following excerpt from the Reply:

       The FBI addresses Plaintiff’ arguments regarding Exemption 1 in paragraphs 28-32 in the
       5th Seidel Declaration, reiterating the procedural and substantive standards that were
       followed in the classification of the national security information and flatly denying that
       the information was classified for any of the purely speculative scenarios proposed by the
       Plaintiff.

Reply 15, citing Fifth Declaration ¶¶28-32. Now consider what Mr. Seidel actually wrote:

       As to Plaintiffs claim that I classified information to prevent embarrassment, my
       determination to classify information was pursuant to the procedural and substantive
       requirements of EO 13526, § 1.7 and was not made to conceal violations of law,
       inefficiency, or administrative error. The information was not classified to prevent
       embarrassment to any person, organization, or agency. Further, my decision to classify
       and withhold information was not for the purpose of preventing or delaying release of
       information that otherwise would not require protection in the interests of national
       security.

Fifth Declaration ¶32. Mr. Seidel did not address any of the “purely speculative scenarios” found

in the Cross-Motion. Instead, he just regurgitated the same old conclusory boilerplate. In other




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words, “Trust us.” Unfortunately, we are way past that point. Summary judgment should be

granted in favor of Mr. Huddleston.

       D. Exemption 3: Information Exempted by Statute

       The Defendants’ argument with respect to statutory exemptions is just more tedious,

conclusory boilerplate. The Cross-Motion speaks for itself.

       E. Exemption 4: Trade Secrets

       The Defendants’ arguments about trade secrets are addressed in the Plaintiff’s Amended

Partial Objection to Defendant FBI’s Motion for Leave to Submit Exhibit In Camera (Dkt. #58).

Mr. Huddleston incorporates that document herein by reference.

       F. Exemption 5: Privileged Information

       The Defendants argue that handwritten notes and draft 302 forms are exempt from

disclosure because they are “privileged deliberative and attorney work product materials.” Reply

17-18. The Defendants are wrong as a matter of law. First, let us begin with Mr. Seidel’s own

definition of a 302 form:

       FD-302s are internal FBI forms in which evidence is often documented, usually the
       results of FBI interviews. Such evidence and/or interview information may later be used
       as testimony or evidence in court proceedings/trials. Additionally, these
       evidence/interview forms are often incorporated in other FBI documents which
       disseminate intelligence/investigative information, and can be utilized to set leads in
       furtherance of the FBI’s investigative efforts.

Fourth Declaration, Exh. N (ECF p. #159). An investigator’s interview notes are not exempt

from disclosure. See Cox v. Dep't of Justice, 504 F. Supp. 3d 119, 155 (E.D.N.Y. 2020) (FBI

ordered to produce handwritten notes); and Williams & Connolly LLP v. U.S. S.E.C., 729 F.

Supp. 2d 202, 213 (D.D.C. 2010), aff'd sub nom. Williams & Connolly v. S.E.C., 662 F.3d 1240

(D.C. Cir. 2011)(factual material in investigator’s handwritten notes had to be produced). The

FBI’s argument fails for that reason alone, but there’s more.


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       Mr. Seidel’s Fifth Declaration actually undermines the Defendants’ arguments with

respect to privilege. Consider the following excerpt:

       [T]he interview notes and draft typed FD-302s at issue herein are inherently deliberative
       in nature as the information documented during the interview does not always appear
       verbatim in the final interview record. The thoughts, ideas, and impressions contained in
       the handwritten interview notes at issue here were edited and distilled during the editorial
       process for the creation of the final agency decision subsequently reflected in multiple
       FD-302's; hence its predecisional nature.

Fifth Declaration ¶41. Now try to reconcile that with Mr. Seidel’s own definition of a 302 form

in the excerpt above. A 302 form is intended to document evidence, particularly interviews of

witnesses, yet “the interview does not always appear verbatim in the final interview record.”

Instead, the verbatim notes can be “edited and distilled during the editorial process for the

creation of [a] final agency decision…” Mr. Seidel has now conceded the very concern that Mr.

Huddleston raised in the Cross-Motion, namely that the FBI reserves the right to “edit and

distill” evidence “during the editorial process.”

       Mr. Huddleston is by no means the first person to express alarm about the FBI’s reliance

on 302 forms. See, e.g., Arseneault & Fassett, LLC, May 22, 2022, “The FBI 302: An Archaic,

and Sometimes a Truth-Altering, Law Enforcement Device,” https://www.af-

lawfirm.com/blog/2020/may/the-fbi-302-an-archaic-and-sometimes-a-truth-alt/. Nearly every

small-town police department in the United States utilizes body cameras and records video of

every witness interview. See, e.g., National Institute for Justice, U.S. Department of Justice,

Research on Body-Worn Cameras and Law Enforcement, January 7, 2022, “Research on Body-

Worn Cameras and Law Enforcement,” https://nij.ojp.gov/topics/articles/research-body-worn-

cameras-and-law-enforcement. The FBI, by contrast, relies solely on written notes. That is

troubling enough by itself, but the FBI goes a step further by “editing and distilling” handwritten




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notes “during the editorial process” such that “the interview does not always appear verbatim.”

In other words, the FBI reserves the right to tamper with evidence.

       In the Cross-Motion, Mr. Huddleston cited evidence that FBI agents altered 302 forms

that were used the criminal prosecution of former National Security Advisor Michael Flynn.

Cross-Motion 28. The Department of Justice has publicly admitted that FBI agents altered the

302 forms. See Notice of Compliance with Minute Order (Dkt. #259), U.S. v. Michael T. Flynn,

Case No. 1:17-cr-00232-EGS (D.D.C.)(attached as Exhibit 3). U.S. District Judge Emmett G.

Sullivan presided over the Flynn case, and he expressed his dismay with the FBI in a minute

order. See October 23, 2020 Minute Order as to Michael T. Flynn (attached as Exhibit 4).

That is troubling enough by itself, but one should remember that the investigation of Mr. Flynn

and the investigation of Seth Rich were both part of Crossfire Hurricane. See, e.g., Robert S.

Mueller III, “Report On The Investigation Into Russian Interference In The 2016 Presidential

Election,” (“Mueller Report”) Vol. I, p. 48, https://www.justice.gov/archives/sco/file/

1373816/download, (concerning Seth Rich) and Fifth Declaration ¶21 (concerning Mr. Flynn).

Since agents altered 302 forms in one aspect of Crossfire Hurricane, it is not unreasonable to ask

whether they altered 302 forms in other aspects of Crossfire Hurricane, i.e., the portions related

to Seth Rich. Mr. Huddleston’s arguments about the crime-fraud exception are, therefore,

entirely legitimate.

       In any event, the Court need not reach the crime-fraud issue because Cox and Williams &

Connolly squarely resolve the issue in favor of Mr. Huddleston. The Defendants provide no

authority whatsoever in support of their arguments, therefore summary judgment should be

granted in favor of Mr. Huddleston.




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       G. Exemption 7: Confidential Source Information

       Mr. Huddleston has not asked the Court to order the FBI to release information provided

confidentially by foreign governments. Instead, he asks the Court to review any such documents

in camera. Given the FBI’s pervasive bad faith in all matters pertaining to Seth Rich, that is not

an unreasonable request.

3. Bad Faith

       Ironically, the Defendants’ argument about bad faith begins with a false statement to the

Court. The Defendants claim that Mr. Huddleston’s only evidence of bad faith is the fact that the

FBI found and produced hundreds of pages about Seth Rich after previously denying in 2018

that it had any such documents. Reply 20-22. The Court need only read this surreply to know

that there are numerous demonstrations of bad faith, none of which have anything to do with the

fact that the FBI made false statements in 2018.

4. Summary Judgment Evidence

       It is a matter of hornbook law that specific rules govern general rules. See, e.g., In re

Andry, 921 F.3d 211, 214 (5th Cir. 2019), citing RadLAX Gateway Hotel, LLC v. Amalgamated

Bank, 566 U.S. 639, 645, 132 S.Ct. 2065, 182 L.Ed.2d 967 (2012). In their arguments about

summary judgment evidence, the Defendants try to turn this premise on its head. Mr. Huddleston

cited two cases holding that media reports could be used as summary judgment evidence in a

FOIA case. Cross-Motion 2-3, citing Elec. Frontier Found. v. Dep't of Justice, 532 F. Supp. 2d

22, 23 (D.D.C. 2008) and Ctr. for Nat. Sec. Studies v. U.S. Dep't of Justice, 331 F.3d 918, 930

and 946–47 (D.C. Cir. 2003). Likewise, he cited a district court case that relied on media reports

to determine whether discovery was warranted. Cross-Motion 3, Rainsy v. Facebook, Inc., 311




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F.Supp.3d 1101, 1109 (N.D. Cal. 2019). These cases govern the specific issue before the Court,

namely whether the Court should permit discovery.

          Summary judgment standards in FOIA cases are unique. The court does not decide

whether certain facts have been established, but whether discovery should be permitted or

whether additional searches should be conducted. See, e.g., Reprod. Rights & Justice Project v.

Dep't of HHS, 490 F. Supp. 3d 516, 523 (D. Conn. 2020)(citing cases). Mr. Huddleston is not,

for example, presenting evidence to the Court so it can decide whether Seth Rich was the source

of the infamous DNC leaks. Instead, Mr. Huddleston is trying to provide the Court with

reasonable grounds for subjecting the Defendants to discovery. The question, then, is whether

Mr. Huddleston can rely on media reports to establish his need for discovery. Rainsy resolves

that question in Mr. Huddleston’s favor, as do Elec. Frontier Found. and Ctr. for Nat. Sec.

Studies. The Defendants’ failure to address these cases is fatal to their argument. 8

5. The Court Should Permit Discovery

          The Defendants have had multiple opportunities to come clean. Unfortunately, and as

detailed above, they are still playing cute and still hiding records. They acknowledge that bad

faith is sufficient reason to permit discovery, Reply 29, citing Carney v. U.S. Dep’t of Justice, 19




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    The Defendants objected to two media reports that are not media reports at all, specifically the
    transcript of the deposition of Deborah Sines and the transcript of the deposition of Sy Hersh. Reply 24,
    ¶¶8 and 12. The undersigned inadvertently failed to authenticate the Sines transcript, and although he
    authenticated the Hersh transcript, he inadvertently directed the Court to the wrong page. That issue
    will be corrected here. As attested by his electronic signature on this document, Ty Clevenger declares
    under penalty of perjury under the laws of the United States that he personally uploaded (1) a true and
    correct copy of the transcript of the March 20, 2020 deposition of Deborah Sines at
    https://lawflog.com/wp-content/uploads/2020/04/2020.03.20-Deborah-Sines-deposition-transcript.pdf;
    and (2) a true and correct copy of the transcript of the July 15, 2020 deposition of Seymour “Sy” Hersh
    at https://lawflog.com/wp-content/uploads/2020/12/2020.12.30-Exhibit-8-Hersh-
    depositionstamped.pdf. Mr. Huddleston cited the Sines transcript on p. 13 of the Cross-Motion and the
    Hersh transcript on pp. 12 and 27 of the Cross-Motion.


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F.3d 807, 812 (2d Cir. 1994), thus they acknowledge the need for discovery. Summary judgment

should be granted in favor of Mr. Huddleston.

6. The Court Should Conduct an In Camera Review

       The U.S. District Court for the District of Columbia recently ordered an in camera review

of records related to “Russian collusion,” specifically to determine whether the government was

improperly redacting information in response to FOIA requests. See Elec. Privacy Info. Ctr. v.

United States Dep't of Justice, 442 F. Supp. 3d 37, 47–48 (D.D.C. 2020). Since that time, the

Government’s chicanery has only gotten worse. The Court should therefore conduct an in

camera review of all documents redacted or withheld by the Defendants.

                                            Conclusion

       The Defendants have waived most issues by failing to respond to those issues. Boggs,

376 F. Supp. 3d at 722. The FBI, in particular, has consistently acted in bad faith, and the

testimony of Mr. Seidel is not credible. The Defendants’ motion for summary judgment should

therefore be denied, and Mr. Huddleston’s Cross-Motion should be granted in full.



                                              Respectfully submitted,

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                                     Certificate of Service

        On May 31, 2022, I filed a copy of this response with the Court’s ECF system, which
should result in automatic notification via email to Asst. U.S. Attorney Andrea Parker, Counsel
for the Defendants, at andrea.parker@usdoj.gov.

                                            /s/ Ty Clevenger
                                            Ty Clevenger




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